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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


      TOKIO MARINE SPECIALTY INSURANCE
      COMPANY,

                                          Plaintiff,
                          v.
                                                                      MEMORANDUM AND ORDER
      THE CINCINNATI SPECIALTY                                           22-CV-5431 (LDH (PK)
      UNDERWRITERS INSURANCE COMPANY,
      ZARA REALTY HOLDING CORP., PARK
      HAVEN, LLC, AND PARK HAVEN DE, LLC,

                                             Defendants.


  LASHANN DEARCY HALL, United States District Judge:
          Tokio Marine Specialty Insurance Company (“Plaintiff”) brings this action against Zara

  Realty Holding Corp. (“Zara”), Park Haven LLC (“Park Haven”), and Park Haven DE, LLC

  (“Park DE”) (collectively, “Zara Defendants”), and The Cincinnati Specialty Underwriters

  Insurance Company (“Cincinnati Insurance”), seeking declaratory relief pursuant to 28 U.S.C. §

  2201(a), regarding application of two insurance policies to an underlying lawsuit filed in New

  York Supreme Court, Queens County. Zara Defendants, joined by Cincinnati Insurance

  (collectively “Defendants”), move pursuant to Federal Rule of Civil Procedure 12(b)(1), to

  dismiss the complaint in its entirety.

                                                BACKGROUND1

          This insurance coverage dispute arises from a lawsuit filed against Zara Defendants in

  New York Supreme Court, Queens County (the “Underlying Action”). On January 8, 2021,

  Crisendat Guyadeen commenced the Underlying Action against Zara and Park Haven, alleging


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   The following facts are taken from the complaint (ECF No. 1) and are assumed to be true for the purpose of
  deciding the instant motion.

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  that he sustained bodily injuries from a sewage backup in his apartment in May 2020. (Compl.

  ¶¶ 14-20, ECF No 1.) On March 19, 2021, Guyadeen amended his complaint in the Underlying

  Action to add Park DE and Express Piping Sewer and Drain Cleaning, Inc., as defendants. (Id. ¶

  19.) Guyadeen alleges in the Underlying Action that Zara (as property manager) along with Park

  Haven and Park DE (as property owners) failed to make the property safe and adequately

  respond to the sewage backup. (Compl., Ex. B, ¶¶ 7–8, 11, 40–50, ECF No. 1-2.)

         At the time of the sewage backup, Zara held insurance polices from both Plaintiff and

  Cincinnati Insurance. Plaintiff issued Premises Environmental Coverage with a policy period of

  October 20, 2019, through October 20, 2024 (“Tokio Policy”). (Id. ¶ 22.) Cincinnati Insurance

  issued a Commercial General Liability coverage with a policy period of October 20, 2019,

  through October 20, 2020 (“Cincinnati Policy”). (Id. ¶ 21.)

         Zara Defendants notified both its insurers, Plaintiff and Cincinnati Insurance, about the

  Underlying Action. (Id. ¶¶ 23, 26.) At that time, the two insurance companies agreed to evenly

  split defense fees, costs, and expenses incurred to defend the Underlying Action. (Id. ¶¶ 27, 75.)

  However, on August 4, 2021, Cincinnati Insurance informed Zara Defendants that it disclaimed

  coverage because of a policy exclusion for bodily injuries caused by mold exposure. (Id. ¶ 28.)

  On March 10, 2022, Cincinnati Insurance notified Plaintiff that it “would no longer pay defense

  fees, costs and expenses because it had disclaimed coverage in 2021.” (Id. ¶ 30.)

         Plaintiff initiated the instant action on September 12, 2022, asserting five counts for

  declaratory relief that: (1) Cincinnati Insurance has a duty to defend one or more of the

  defendants in the Underlying Action (id. ¶ 42); (2) Cincinnati Insurance has a duty to indemnify

  the defendants in the Underlying Action (id. ¶¶ 50, 52); (3) Plaintiff has no obligation to defend

  or indemnify any defendant in the Underlying Action under the Tokio Policy exclusions (id. ¶



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  61); (4) Plaintiff is entitled to rescind Park DE’s status as an additional insured (id. ¶ 72); and (5)

  in the alternative, Cincinnati Insurance is obligated to equally share defense fees, costs, and

  expenses incurred to defend the Underlying Action pursuant to the agreement between Plaintiff

  and Cincinnati Insurance (id. ¶ 78.)

                                       STANDARD OF REVIEW

            “A case is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1)

  when the district court lacks the statutory or constitutional power to adjudicate it.” Makarova v.

  U.S., 201 F.3d 110, 113 (2d Cir. 2000). The Petitioner bears the burden of establishing beyond a

  preponderance of the evidence that subject-matter jurisdiction exists. Id. “In reviewing a Rule

  12(b)(1) motion to dismiss, the court ‘must accept as true all material factual allegations in the

  complaint, but [the court is] not to draw inferences from the complaint favorable to Plaintiff[].’”

  Tiraco v. New York State Bd. of Elections, 963 F. Supp. 2d 184, 190 (E.D.N.Y. 2013) (quoting

  J.S. ex rel. N.S. v. Attica Cent. Sch., 386 F.3d 107, 110 (2d Cir. 2004)) (alteration in original).

  Further, “[i]n resolving a motion to dismiss for lack of subject matter jurisdiction under Rule

  12(b)(1), a district court . . . may refer to evidence outside the pleadings.” Makarova, 201 F.3d

  at 113.

                                              DISCUSSION

            Federal courts are courts of limited jurisdiction and cannot preside over cases absent

  subject matter jurisdiction. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 552

  (2005); Frontera Res. Azerbaijan Corp. v. State Oil Co. of Azerbaijan Republic, 582 F.3d 393,

  397 (2d Cir. 2009). “Congress has granted district courts original jurisdiction over cases in

  which there is a federal question, see 28 U.S.C. § 1331, and certain cases between citizens of

  different states, so long as the requirements of complete diversity and amount in controversy are



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  met, see 28 U.S.C. § 1332.” Purdue Pharma L.P. v. Kentucky, 704 F.3d 208, 213 (2d Cir. 2013).

  “[F]ailure of subject matter jurisdiction is not waivable and may be raised at any time by a party

  or by the court sua sponte. If subject matter jurisdiction is lacking, the action must be

  dismissed.” Lyndonville Sav. Bank & Tr. Co. v. Lussier, 211 F.3d 697, 700–01 (2d Cir.

  2000) (citations omitted); see also Arbaugh v. Y&H Corp., 546 U.S. 500, 514 (2006); Fed. R.

  Civ. P. 12(h)(3).

         To claim diversity of citizenship jurisdiction, the plaintiff must satisfy the requirements

  of 28 U.S.C. § 1332. Section 1332 requires “complete diversity,” meaning that “all plaintiffs

  must be citizens of states diverse from those of all defendants.” Tagger v. Strauss Grp. Ltd., 951

  F.3d 124, 126 (2d Cir. 2020) (quoting Pa. Pub. Sch. Emps.’ Ret. Sys. v. Morgan Stanley & Co.,

  Inc., 772 F.3d 111, 118 (2d Cir. 2014)); see also Osorio v. Hasenmeyer, No. 02-CV-5866(SJ),

  2005 WL 408048, at *1 (E.D.N.Y. Feb. 16, 2005) (“It is well-established that this is a complete

  diversity requirement, meaning that when multiple defendants are involved, the plaintiff must

  establish diversity with respect to every defendant.”) (emphasis added).

         According to the complaint, this Court has subject matter jurisdiction over Plaintiff’s

  claims based on diversity of citizenship. (Compl. ¶ 8.) In moving the Court to dismiss the

  complaint, Defendants argue that diversity is not complete here because Plaintiff and Cincinnati

  Insurance are both incorporated in Delaware. (Zara Defs.’ Mem. Of Law in Supp. of Mot. Dis.

  (“Zara Defs.’ Mem.”) at 2–3, ECF No. 35-1); (The Cincinnati Specialty Underwriters Insurance

  Co.’s Mem. L. Joining Zara Defs.’ Mot. to Dis. (“Cincinnati Ins. Mem.”) at 1–2, ECF No. 37.)

  The Court agrees with Defendants.

         By Plaintiff’s own admission, the parties here are not diverse. The complaint states that

  Plaintiff is “incorporated in the State of Delaware, and has its principal place of business” in



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  Pennsylvania; meanwhile Cincinnati Insurance “is incorporated in the State of Delaware” and

  “has its principal place of business” in Ohio. (Compl. ¶¶ 2, 7.) Because the complaint alleges

  that Plaintiff and Cincinnati Insurance are both “incorporated” in Delaware, the two parties are

  citizens of Delaware for purposes of diversity jurisdiction. 28 U.S.C. § 1332(c)(1). As such,

  there is no “complete diversity,” and this Court lacks subject matter jurisdiction. Cresswell v.

  Sullivan & Cromwell, 922 F.2d 60, 68 (2d Cir. 1990) (noting “that diversity is not complete if

  any plaintiff is a citizen of the same state as any defendant”).

          Confronted with this jurisdictional defect, Plaintiff responds that a corporation’s

  citizenship is determined by where the company’s “nerve center” is located. (Pl’s Mem. L. Opp.

  Zara Defs.’ Mot. Dis. (“Pl’s Mem.”) at 3–4, ECF No. 35-4.) Plaintiff argues the parties here are

  diverse because Plaintiff’s nerve center is Pennsylvania, and Cincinnati Insurance’s nerve center

  is Ohio. (Id. at 4.)2 Even if Plaintiff is correct as to where the parties’ “nerve centers” are

  located, Plaintiff ignores that the Court must also consider where the parties are incorporated for

  purposes of diversity jurisdiction.

          As Defendants correctly note, and the statute makes clear, “a corporation shall be deemed

  to be a citizen of every State and foreign state by which it has been incorporated and of the State

  or foreign state where it has its principal place of business.” 28 U.S.C. § 1332(c)(1) (emphasis

  added); (Zara Defs.’ Mem. at 2–3); (Cincinnati Ins. Mem. at 2.) As such, “[b]oth the state of

  incorporation and the principal place of business should be considered in deciding whether

  diversity jurisdiction is present.” Wm. Passalacqua Builders, Inc. v. Resnick Devs. S., Inc., 933

  F.2d 131, 141 (2d Cir. 1991).




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   Plaintiff makes these same arguments both in its opposition to the Zara Defendants’ motion to dismiss, (ECF No.
  35-4), and its opposition to Cincinnati Insurance’s motion to dismiss, (ECF No. 38.)

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           Defendants further argue that complete diversity is lacking because “Park DE and Park

  Haven include as members a Delaware trust with a Delaware trustee, and are therefore citizens of

  Delaware.” (Zara Defs.’ Mem. at 3.) Plaintiff responds that, based on outside court records,

  Park DE and Park Haven have “nerve center[s]” in New York. (Pls.’ Mem. at 5–6.) Plaintiff

  also argues that Park DE and Park Haven are not citizens of Delaware because—even if their

  members include a Delaware trust—“the trustee is not the real party in interest.” (Id. at 8.) In

  the alternative, Plaintiff requests more discovery “into the existence of jurisdiction.” (Id. at 7.)

           Even crediting Plaintiff’s claims as to where the Zara Defendants might be citizens, none

  of those arguments save Plaintiff’s case from dismissal. Plaintiff’s shared citizenship with

  Cincinnati Insurance, by itself, destroys complete diversity and requires dismissal as to all

  Defendants. See Cresswell, 922 F.2d at 68; Osorio, 2005 WL 408048, at *1–2 (granting motion

  to dismiss “with respect to all Defendants” where plaintiffs and one defendant shared New York

  citizenship).3

           Moreover, although Zara Defendants devote considerable time in their brief as to why the

  Court should not realign the parties to preserve subject matter jurisdiction, Plaintiff never

  addresses the argument. (Zara Defs.’ Mem. at 3-7.) As such, it is deemed abandoned. Laface v.

  E. Suffolk Boces, 349 F. Supp. 3d 126, 161 (E.D.N.Y. 2018) (“District courts in this circuit have

  found that a plaintiff's failure to respond to contentions raised in a motion to dismiss claims

  constitute an abandonment of those claims.”) (internal quotation omitted) (collecting cases).4


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    Nor is subject matter jurisdiction available here because Plaintiff seeks relief under the Declaratory Judgment Act,
  28 U.S.C. § 2201 (Compl. ¶ 9); “the Declaratory Judgment Act does not by itself confer subject matter jurisdiction
  on the federal courts.” Correspondent Servs. Corp. v. First Equities Corp. of Fla., 442 F.3d 767, 769 (2d Cir. 2006)
  (“Rather, there must be an independent basis of jurisdiction before a district court may issue a declaratory
  judgment.”).
  4
   Even if Plaintiff had properly raised the argument, the Court is unlikely to realign Plaintiff and Cincinnati
  Insurance on the same side of a lawsuit predicated on the two parties’ adversarial relationship. See Maryland Cas.
  Co. v. W.R. Grace & Co., 23 F.3d 617, 624 (2d Cir. 1993), amended (May 16, 1994) (declining to realign insurance

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                                                 CONCLUSION

          For the foregoing reasons, Defendants’ motions to dismiss Plaintiff’s complaint are

  GRANTED.

                                                                        SO ORDERED.

          Dated: Brooklyn, New York                                     /s/ LDH
                 September 29, 2023                                     LASHANN DEARCY HALL
                                                                        United States District Judge




  companies in a coverage dispute because “with millions of dollars at stake, which of them must pay or how far back
  coverage would extend inevitably pitted each insurer against all the others”).

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